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     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   Robert Brogan

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-00431 MCE
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   RAYMOND BROGAN, et al.,       )
                                   )        Date:    11/13/08
14             Defendants.         )        Time:    10:00 a.m.
     ______________________________)        Judge:   Hon. Morrison C.
15                                                   England, Jr.

16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, R. Steven Lapham, Assistant
18
     United States Attorney, together with counsel for defendant
19
     Raymond Brogan, Matthew C. Bockmon, Esq., and counsel for
20
     defendant Robert Brogan, John R. Manning, Esq., that the status
21
     conference presently set for November 13, 2008 be continued to
22
     January 8, 2009, at 9:00 a.m., thus vacating the presently set
23
     status conference.
24
          The parties stipulate that the ends of justice are served by
25
     the Court excluding such time, so that counsel for the defendants
26
     may have reasonable time necessary for effective preparation,
27
     taking into account the exercise of due diligence. 18 U.S.C. §
28
                                        1
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 1   3161(h)(8)(B)(iv). Specifically, the requested continuance is

 2   based upon the need of defense counsel to review the 600 plus

 3   pages of discovery and for further investigation.         The parties

 4   stipulate and agree that the interests of justice served by

 5   granting this continuance outweigh the best interests of the

 6   public and the defendant in a speedy trial. 18 U.S.C. §

 7   3161(h)(8)(A).

 8
     IT IS SO STIPULATED.
 9
     Dated: November 7, 2008                    /s/ Matthew C. Bockmon
10                                            MATTHEW C. BOCKMON
                                              Attorney for Defendant
11                                            Raymond Brogan

12   Dated: November 7, 2008                   /s/ John R. Manning
                                              JOHN R. MANNING
13                                            Attorney for Defendant
                                              Robert Brogan
14

15   Dated: November 7, 2008                  McGREGOR W. SCOTT
                                              United States Attorney
16

17                                      by:     /s/ R. Steven Lapham
                                              R. STEVEN LAPHAM
18                                            Assistant U.S. Attorney

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 1                   IN THE UNITED STATES DISTRICT COURT

 2                 FOR THE EASTERN DISTRICT OF CALIFORNIA

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 4   UNITED STATES OF AMERICA,       ) Case No. CR.S-08-00431 MCE
                                     )
 5                  Plaintiff,       )
                                     )
 6        v.                         ) ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 7   RAYMOND BROGAN, et al.,         )
                                     )
 8                  Defendants.      )
     _______________________________ )
 9

10        GOOD CAUSE APPEARING, it is hereby ordered that the November

11   13, 2008 status conference be continued to January 8, 2009 at

12   9:00 a.m.   I find that the ends of justice warrant an exclusion

13   of time and that the defendant’s need for continuity of counsel

14   and reasonable time for effective preparation, exceeds the public

15   interest in a trial within 70 days.      THEREFORE IT IS FURTHER

16   ORDERED that time be excluded pursuant to 18 U.S.C. §

17   3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

18   to January 8, 2009.

19        IT IS SO ORDERED.

20
     Dated: November 14, 2008
21

22                                    _____________________________
                                      MORRISON C. ENGLAND, JR.
23                                    UNITED STATES DISTRICT JUDGE
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